    Case 2:85-cv-04544-DMG-AGR Document 954 Filed 08/28/20 Page 1 of 1 Page ID #:40783




                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                   CASE NUMBER
Jenny L. Flores, et al.
                                                                                                   CV 85-4544-DMG (AGRx)
                                                                   Plaintiff(s)
                                        v.
                                                                                           ORDER ON APPLICATION OF NON-
William P. Barr, et. al.
                                                                                         RESIDENT ATTORNEY TO APPEAR IN A
                                                              Defendant(s).                  SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Sethi, Chanakya A.                                 of Wilkinson Walsh LLP
 Applicant’s Name (Last Name, First Name & Middle Initial)                            130 W 42nd Street
(929)264-7758                            (202)847-4005                                24th Floor
Telephone Number                          Fax Number                                  New York, NY 10036
csethi@wilkinsonwalsh.com
                               E-Mail Address                                         Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
Amnesty International USA and Human Rights Watch



 Name(s) of Party(ies) Represented                                                 Plaintiff(s)   Defendant(s)       Other: Amicus
 and designating as Local Counsel
Hari, Rahul                                                                       of Wilkinson Walsh LLP
 Designee’s Name (Last Name, First Name & Middle Initial)                             11601 Wilshire Blvd.
      313528             (424)291-9664       (202)847-4005                            Suite 600
 Designee’s Cal. Bar No.         Telephone Number           Fax Number
                                                                                      Los Angeles, CA 90025
rhari@wilkinsonwalsh.com
                       E-Mail Address                                                 Firm/Agency Name & Address

  HEREBY ORDERS THAT the Application be:
   X GRANTED.
       DENIED:              for failure to pay the required fee.
                            for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                            for failure to complete Application:
                            pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                            pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                            because

  IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                                be refunded    not be refunded.

  Dated August 28, 2020
                                                                                           Dolly M. Gee, U.S. District Judge
G–64 ORDER (5/16)          ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 1 of 1
